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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

                          Civil Action No. 0:13-cv-61138-WJZ


  GARRY BATES, an individual; and
  RENAE BATES, an individual,
      Plaintiffs,
  v.
  WORLDPMX, INC., a Florida corporation;
  INVESTMENT QUALITY DIAMONDS, INC., a Florida corporation;
  SEAN MCCABE, an individual;
  AMERIFIRST TRADING CORP., a Florida corporation;
  C. LEO SMITH, an individual; and
  WORTH GROUP, INC., a Florida corporation,
        Defendants.
  ________________________________________________/
  ______________________________________________________________________________

             PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
         DEFENDANTS AMERIFIRST TRADING CORP. AND C. LEO SMITH’s
                   MOTION TO DISMISS AMENDED COMPLAINT
  ______________________________________________________________________________

                                              Respectfully submitted,

                                              DAVID C. SILVER
                                              Florida Bar No. 572764
                                              E-mail: DSilver@silverlaw.com
                                              SCOTT L. SILVER
                                              Florida Bar No. 095631
                                              E-mail: SSilver@silverlaw.com
                                              JASON S. MILLER
                                              Florida Bar No. 072206
                                              E-mail: JMiller@silverlaw.com
                                              SILVER LAW GROUP
                                              11780 W. Sample Road
                                              Coral Springs, Florida 33065
                                              Telephone:     (954) 755-4799
                                              Facsimile:     (954) 755-4684

                                              Counsel for Plaintiffs, Garry Bates and Renae Bates
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          Plaintiffs, GARRY BATES, an individual; and RENAE BATES, an individual

  (collectively referred to as “Plaintiffs”), by and through undersigned counsel, hereby submit the

  following Memorandum of Law in Opposition to the motion filed by defendants AMERIFIRST

  TRADING CORP., a Florida corporation (“AMERIFIRST”); and C. LEO SMITH, an individual

  (“SMITH”) (collectively “the AMERIFIRST Defendants”) [DE 38], seeking dismissal of the

  Amended Complaint [DE 30]. For the reasons set forth below, the AMERIFIRST Defendants’

  motions should be denied.1

  I.      ADOPTION AND INCORPORATION OF PLAINTIFFS’ PRIOR RESPONSE TO
          DEFENDANTS’ MOTIONS TO DISMISS AMENDED COMPLAINT

          Prior to the AMERIFIRST Defendants filing their Motion to Dismiss the Amended

  Complaint, all of the other defendants filed similar motions to dismiss the Amended Complaint

  on grounds similar to, if not identical to, those raised by the AMERIFIRST Defendants in their

  motion.     See, DE 33 (motion filed by Defendants WORLDPMX, INC.; INVESTMENT

  QUALITY DIAMONDS, INC.; and SEAN McCABE [“the WORLDPMX Defendants”]); and

  DE 35 (motion filed by defendant WORTH GROUP, INC. [“WORTH GROUP”]). In response

  to those motions, Plaintiffs filed a consolidated memorandum of law [DE 37] addressing the

  grounds upon which the defendants seek to have the Amended Complaint dismissed -- many of

  which apply with equal force to the arguments raised in the AMERIFIRST Defendants’ motion.

  To avoid burdening the Court with a repetition of those arguments here, Plaintiffs hereby adopt

  and incorporate by reference the arguments and factual predicate presented in their previously-

  filed consolidated memorandum to the extent those arguments apply with equal strength to the

  AMERIFIRST Defendants’ arguments in this proceeding. To the extent an additional response


  1
   Paragraph references to Plaintiffs’ Amended Complaint are stated herein as “AC ¶ ___.” Page references to the
  AMERIFIRST Defendants’ Motion to Dismiss are stated as “AMERIFIRST at ____.” Capitalized terms and
  abbreviations have the same scope and meaning as in the Amended Complaint.



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  unique to the issues and arguments raised in the AMERIFIRST Defendants’ motion is required,

  Plaintiffs set forth that response below.

  II.     THE AMENDED COMPLAINT PROPERLY SETS FORTH PLAINTIFFS’
          CLAIMS AGAINST THE AMERIFIRST DEFENDANTS

          In their Motion to Dismiss, the AMERIFIRST Defendants argue that the Amended

  Complaint does not properly set forth Plaintiffs’ claim under Florida’s Deceptive and Unfair

  Trade Practices Act (Count I), Plaintiffs’ claim for fraudulent inducement (Count III), and

  Plaintiffs’ claim for civil conspiracy (Count IV). See, AMERIFIRST at 9-13. As demonstrated

  below, the AMERIFIRST Defendants’ arguments are erroneously placed; and there are no valid

  grounds upon which the Amended Complaint should be dismissed against the AMERIFIRST

  Defendants.

          A.         Violation of Florida’s Deceptive and Unfair Trade Practices Act, Chapter
                     501, § 211(1), Fla. Stat. (“FDUTPA”) [Count I]

                     1. The AmeriFirst Defendants’ Fraudulent Acts Are Specifically Pleaded

          According to the AMERIFIRST Defendants, Plaintiffs have failed to state with

  particularity their claims of the fraudulent activity perpetrated by the AMERIFIRST Defendants.

  In that regard, the AMERIFIRST Defendants ignore the very specific allegations contained

  within the Amended Complaint that demonstrate the AMERIFIRST Defendants’ culpable

  actions, to wit:

                     Paragraph 14. AMERFIRST and SMITH never possessed any
                         precious metal, never held title to any precious metal, and
                         never had any enforceable commitment to receive or direct
                         delivery of precious metal on behalf of Plaintiffs.
                         AMERFIRST and SMITH charged Plaintiffs a finance charge
                         on a loan balance but never disbursed any loan funds to, for,
                         or on behalf of Plaintiffs. AMERFIRST and SMITH charged
                         Plaintiffs a storage fee based on the total metal value of each
                         transaction, even though AMERFIRST and SMITH never
                         transferred, allocated, stored, or sold any physical metal to,
                         for, or on behalf of Plaintiffs.


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             Paragraph 15. AMERIFIRST, SMITH, and WORTH GROUP
                 charged AMERFIRST and SMITH, through false reports and
                 statements, specifically the trade confirmations, the trade lists,
                 the position lists, the accountant statements, and the notices of
                 allocation, misrepresented to Plaintiffs that Plaintiffs bought,
                 and that AMERFIRST and SMITH sold to them, precious
                 metal, and that AMERFIRST and SMITH held the precious
                 metal underlying Plaintiffs purchases.

             Paragraph 63(i). AMERIFIRST, SMITH, and WORTH GROUP
                 charged a fictitious finance charge on the loan balance but
                 never disbursed any loan funds to, for, or on behalf of
                 Plaintiffs.

             Paragraph 63(j). AMERIFIRST, SMITH, and WORTH GROUP
                 charged fictitious storage fees based on the total metal value
                 of each transaction, even though AMERIFIRST, SMITH, and
                 WORTH GROUP never transferred, allocated, stored, or sold
                 any physical metal to, for, or on behalf of Plaintiffs.

             Paragraph 63(k).      Each and every report and statement
                 prepared by AMERIFIRST, SMITH, and WORTH GROUP,
                 specifically the trade confirmations, the trade lists, the
                 position lists, the account statements, and the notices of
                 allocation, misrepresented to Plaintiffs that Plaintiffs bought,
                 and that AMERIFIRST and/or WORTH GROUP sold to
                 Plaintiffs, precious metal, and that depending on the
                 transaction, AMERIFIRST and/or WORTH GROUP held the
                 precious metal underlying Plaintiffs’ purchases.

                   i.       Through these false reports and statements,
                            specifically the trade lists and the account
                            statements, AMERIFIRST and WORTH GROUP
                            misrepresented to Plaintiffs that AMERIFIRST
                            and WORTH GROUP made loans to Plaintiffs to
                            enable Plaintiffs to purchase 80% balance of
                            metal;

                  ii.       The trade confirmations, trade lists, position
                            lists, account statements, and notices of
                            allocation    were     false  and     deceptive.
                            AMERIFIRST and WORTH GROUP, in near
                            identical fashion, never had possession of, title
                            to, or any enforceable commitment of precious
                            metal;




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                     iii.      AMERIFIRST and WORTH GROUP could not
                               and did not actually transfer, allocate, or sell
                               any precious metal to Plaintiffs;

                     iv.       AMERIFIRST and WORTH GROUP charged
                               Plaintiffs a storage fee, even though no metal
                               was ever transferred, allocated, or sold to
                               Plaintiffs; and

                      v.       AMERIFIRST and WORTH GROUP never made
                               an actual loan to Plaintiffs. AMERIFIRST and
                               WORTH GROUP never dispersed any actual
                               loan funds to Plaintiffs. AMERIFIRST and
                               WORTH GROUP charged Plaintiffs a finance
                               fee, even though no loan was ever actually made
                               to Plaintiffs.

                Paragraph 64. Attached hereto as Composite Exhibit “A” is an
                    exemplar of the documents DEFENDANTS created containing
                    the false and misleading information purporting to represent
                    Plaintiffs’ positions, costs, and the overall summary of
                    Plaintiffs’ supposed transactions.     Consistent with the
                    fraudulent scheme described above, the AMERIFIRST
                    document, for example:

                        (a)    Is maintained on the Dealer Portal;

                        (b)    Is accessible through the web domain maintained
                               by AMERIFIRST (www.amerifirsttrading.com); and

                        (c)    Contains information in its web address clearly
                               showing that AMERIFIRST provides “back office,”
                               “admin[istrative]” support purporting to reflect
                               Plaintiffs’ “acc[ount] summary.”

         The AMERIFIRST Defendants are alleged to have charged Plaintiffs fees and expenses

  for transactions that never took place. The AMERIFIRST Defendants are alleged to have

  charged Plaintiffs fees and expenses for loans that were never actually made to Plaintiffs.

  Perhaps most egregiously, the AMERIFIRST Defendants are alleged to have created and

  provided to Plaintiffs false written reports to mislead Plaintiffs into believing that Plaintiffs

  bought, and that the AMERIFIRST Defendants had sold to them, precious metal, and that the




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  AMERIFIRST Defendants held the precious metal underlying Plaintiffs’ purchases.            These

  allegations are specific and are pointed directly at the AMERIFIRST Defendants. For the

  AMERIFIRST Defendants to assert that the allegations are vague or somehow do not adequately

  inform them of what they are accused of having done wrong, the AMERIFIRST Defendants fall

  well short of what they must proffer to warrant dismissal of Plaintiffs’ Amended Complaint.

                2. Plaintiffs’ FDUTPA Claim is Not Limited Solely Against WorldPMX

         In their Motion to Dismiss, the AMERIFIRST Defendants posit that because “Plaintiffs

  never executed any paperwork with [the AMERIFIRST Defendants],” Plaintiffs are unable to

  assert a claim under FDUTPA against them.           To support their claim, the AMERIFIRST

  Defendants cite to Shibata v. Lim, 133 F. Supp. 2d 1311 (M.D. Fla. 2000) and Delgado v. J.W.

  Courtesy Pontiac GMC-Truck, Inc., 693 So.2d 602 (Fla. 2d DCA 1997). Not only is the

  AMERIFIRST Defendants’ argument completely unsound, the case law they use to support their

  argument is inapposite to the matter at hand. In Shibata, the Court dismissed a FDUTPA claim

  because it found that the plaintiff was not a “consumer” entitled to protection under FDUTPA.

  Shibata, 133 F. Supp. 2d at 1320-1321. In the instant matter, Plaintiffs are clearly “consumers”

  as that term is defined in the Act. See also, AC ¶ 99 (“Plaintiffs are ‘consumers’ within the

  meaning of Fla. Stat. § 501.203(7).”). Similarly, the court in Delgado did not limit all FDUTPA

  claims to those involving a direct sale between the litigating parties memorialized by a written

  contract; rather, the Delgado court merely identified a “sale” as one of the protected consumer

  transactions that was excepted from the bar sometimes imposed upon claimants by the Economic

  Loss Rule. Delgado, 693 So. 2d at 610. Plaintiffs’ claims are not barred as suggested by the

  AMERIFIRST Defendants, and the AMERIFIRST Defendants have not made a cogent argument

  demonstrating why Count I should be dismissed against them.




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                 3. Plaintiffs Have Standing to Assert their FDUTPA Claim

         The AMERIFIRST Defendants suggest in their motion that “there is a split between

  various courts as to whether or not an out-of-state plaintiff may bring a claim under FDUTPA.”

  AMERIFIRST at 10. However, the AMERIFIRST Defendants fail to reveal that this Court has

  already concluded that non-Florida residents have standing to file a FDUTPA claim in Florida --

  even where none of the parties are Florida residents and not all transactions occurred in Florida.

  In Barnext Offshore, Ltd. v. Ferretti Group USQ, Inc., 2012 U.S. Dist. LEXIS 61710, at *17-18

  (S.D. Fla. May 2, 2012), this Court allowed a FDUPTA claim to proceed by the purchaser of a

  yacht, a foreign corporation, against defendants that included a domestic corporation and foreign

  entities, because the yacht was sold in Florida, even though certain documents relevant to the

  sale of the yacht were signed in the Bahamas and that the yacht was physically transferred in the

  Bahamas. See also, 2P Commercial Agency S.R.O. v. Familant, 2012 U.S. Dist. LEXIS 179628

  (M.D. Fla. Dec. 19, 2012) (permitting non-Florida resident to maintain action in Florida under

  FDUTPA); Millennium Communications & Fulfillment, Inc. v. Office of the Attorney General,

  761 So. 2d 1256 (Fla. 3d DCA 2000) (same). The AMERIFIRST Defendants’ argument in this

  regard is disingenuous, is fallacious, and deserves no consideration by the Court.

         B.      Fraudulent Inducement [Count III]

         According to the AMERIFIRST Defendants:

                 [T]here is not one fact alleged which would support any of the
                 elements necessary for the Plaintiffs to state a direct cause of
                 action for fraud in the inducement against Amerifirst and Smith.
                 Moreover, as referenced in Section A above, Smith and Amerifirst
                 believe that . . . the Amended Complaint [does] not state specific
                 facts, as required by Fed.R.Civ.P. 9(b), to support a cause of
                 action for fraudulent inducement against them . . . .

  AMERIFIRST at 12. As noted above in Section II(A)(1), Plaintiffs have adequately pleaded the

  fraudulent acts for which the AMERIFIRST Defendants are to be held liable.              Plaintiffs’


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  allegations are clear, they are precise, and they unquestionably demonstrate the first-hand

  culpability for which the AMERIFIRST Defendants should be held liable. The AMERIFIRST

  Defendants induced a series of investments from Plaintiffs and defrauded Plaintiffs through the

  use of falsified documentation on which the AMERIFIRST Defendants knew Plaintiffs would

  rely in continuing to invest additional funds and allow all of the defendants -- including the

  AMERIFIRST Defendants -- to siphon away Plaintiffs’ money under the guise of legitimate

  business activities.   For the complicit behavior specified in the Amended Complaint, the

  AMERIFIRST Defendants should be held liable under Count III.

         C.      Civil Conspiracy [Count IV]

         As Plaintiffs noted in their response to the WORLDPMX Defendants and WORTH

  GROUP’s Motions to Dismiss:

                    In order to properly state a claim for civil conspiracy, a plaintiff
                 must allege “‘(a) an agreement between two or more parties, (b) to
                 do an unlawful act or to do a lawful act by unlawful means, (c) the
                 doing of some overt act in pursuance of the conspiracy, and (d)
                 damage to plaintiff as a result of the acts done under the
                 conspiracy.’“ * * * Despite the requirement of an underlying
                 tort or wrong, “[e]ach co-conspirator need not act to further a
                 conspiracy; each ‘need only know of the scheme and assist in it
                 in some way to be held responsible for all of the acts of his
                 coconspirators.’“

  Johnson Law Group v. Elimadebt USA, LLC, 2010 U.S. Dist. LEXIS 51079, at *19-20 (S.D. Fla.

  May 24, 2010) (emphasis added). Even if the AMERIFIRST Defendants were not alleged to

  have committed the tort or statutory violation underlying the civil conspiracy, that point is

  immaterial. See, Pafumi v. Davidson, 2007 U.S. Dist. LEXIS 43138, at *4 (S.D. Fla. 2007)

  (finding it unnecessary for each defendant charged with conspiracy to be accused of making

  misrepresentations as long as at least one co-conspirator committed such an overt act). Plaintiffs

  have adequately pleaded their claim for civil conspiracy and have alleged that the AMERIFIRST



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  Defendants knew of the scheme and assisted in some way. See, e.g., AC ¶ 28 (“The above-

  described scheme is understood, agreed-to, and participated in by all DEFENDANTS. Whether

  serving as ‘front end’ or ‘back end’ operators, each defendant has a role to play and must fulfill

  its/his role for the fraudulent scheme to succeed.”).               See also, AC ¶ 26 (describing each

  defendant’s role in the scheme and how they function in harmony with one another to

  accomplish their common goal), ¶ 27 (same), ¶ 29 (alleging the AMERIFIRST Defendants’

  knowledge of, and consent to, certain material factual misrepresentations made to Plaintiffs in

  furtherance of the fraudulent scheme), ¶ 54 (describing the conspiracy), ¶¶ 62-64 (specifying the

  AMERIFIRST Defendants’ actions in furtherance of the scheme), and ¶ 85 (“DEFENDANTS

  coordinated the fraudulent scheme by working in concert with one another. They each had a

  measure of control over the course of the scheme and the actors through whom the scheme was

  enacted. Moreover, any one of them could have put a stop to, or withdrawn from, the scheme at

  any point.”).

          Because Plaintiffs have adequately pleaded their conspiracy claim against the

  AMERIFIRST Defendants, Count IV should not be dismissed as requested by the AMERIFIRST

  Defendants.

  III.    CONCLUSION

          For the foregoing reasons,2 Plaintiffs respectfully request the Court deny AMERIFIRST

  and SMITH’s Motion to Dismiss the Amended Complaint [DE 38].




  2
    With regard to any arguments raised in the AMERIFIRST Defendants’ motions that are not specifically addressed
  herein, Plaintiffs do not concede or acquiesce to the AMERIFIRST Defendants on those points. Plaintiffs simply
  rely on the strength and viability of the allegations as they have been set forth in the Amended Complaint without
  the need for further exposition.



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                                                   Respectfully submitted,

                                                   SILVER LAW GROUP
                                                   11780 W. Sample Road
                                                   Coral Springs, Florida 33065
                                                   Telephone:     (954) 755-4799
                                                   Facsimile:     (954) 755-4684



                                                   By:
                                                          DAVID C. SILVER
                                                          Florida Bar No. 572764
                                                          E-mail: DSilver@silverlaw.com
                                                          SCOTT L. SILVER
                                                          Florida Bar No. 095631
                                                          E-mail: SSilver@silverlaw.com
                                                          JASON S. MILLER
                                                          Florida Bar No. 072206
                                                          E-mail: JMiller@silverlaw.com

                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the
  Clerk of Court on this 21st day of October 2013 by using the CM/ECF system which will
  send a notice of electronic filing to the following CM/ECF participant(s): ANDREW N. COVE,
  ESQ. and MICHELE WATT, ESQ., COVE & ASSOCIATES, P.A., Counsel for Defendants,
  WorldPMX, Inc., Investment Quality Diamonds Inc., and Sean McCabe, 225 South 21st Avenue,
  Hollywood, FL 33020, E-mail: anc@covelaw.com, mlw@covelaw.com; FRED A.
  SCHWARTZ, ESQ., KOPELOWITZ OSTROW, et al., Counsel for Defendants, WorldPMX, Inc.,
  Investment Quality Diamonds Inc., and Sean McCabe, 700 South Federal Highway - Suite 200,
  Boca Raton, FL 33432, E-mail: Schwartz@kolawyers.com; CARL F. SCHOEPPL, ESQ.,
  SCHOEPPL & BURKE, P.A., Counsel for Defendants, WorldPMX, Inc., Investment Quality
  Diamonds Inc., and Sean McCabe, 4651 North Federal Highway, Boca Raton, FL 33431-5133,
  E-mail: carl@schoepplburke.com; TODD STONE, ESQ., THE STONE LAW GROUP, Counsel for
  Defendants, Amerifirst Trading Corp. and C. Leo Smith, 101 NE Third Avenue - Suite 1270,
  Fort Lauderdale, FL 33301; E-mail: TStone@tislaw.net; and GEOFFREY M. CAHEN, ESQ.,
  GREENBERG TRAURIG, P.A., Counsel for Defendant, Worth Group, Inc., 5100 Town Center
  Circle – Suite 400, Boca Raton, FL 33486; E-mail: CahenG@gtlaw.com.




                                                          DAVID C. SILVER




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